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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                         )
 DEMETRIUS JOHNSON,                                      )
                                                         )       Case No. 20-cv-4156
               Plaintiff,                                )
                                                         )       Judge Sara L. Ellis
               v.                                        )
                                                         )       Magistrate Judge Heather K. McShain
 REYNALDO GUEVARA, the ESTATE of                         )
 ERNEST HALVERSON, DARRYL DALEY,                         )
 WILLIAM ERICKSON, JOHN HEALY, and                       )
 the CITY OF CHICAGO                                     )
                                                         )       JURY TRIAL DEMANDED
               Defendants.                               )



             PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME


        Plaintiff, DEMETRIUS JOHNSON, by and through his attorneys, LOEVY & LOEVY,

hereby moves the Court for an extension of time to make disclosures of expert witnesses

pursuant to Rule 26(a)(2). Plaintiff has consulted with counsel for the Defendants, who do not

oppose this motion.

        In support of his motion Plaintiff states:

        1.      Plaintiff filed this case in November 2020. Dkt 1.

        2.      The Court’s November 1, 2022 scheduling order provides that Plaintiff’s Rule

26(a)(2) disclosures are to be served on December 30, 2022. Dkt. 175.

        3.      Plaintiff’s counsel has been litigating this matter diligently, including the

completion of fact discovery; filing an affirmative motion for summary judgment; and identifying

experts in the specialized fields involved in this case.



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       4.      In light of other previously-set deadlines in this and other cases as well as the

holidays, Plaintiff requests an extension to serve his expert disclosures.

       5.      This is Plaintiff’s first request for an extension of the discovery schedule.

       6.      Plaintiff’s counsel has contacted the defendants, who do not oppose Plaintiff’s

request, subject to corresponding extensions of the remaining expert discovery and Defendants’

dispositive motion deadlines in this case.

       7.      In light of the foregoing, Plaintiff respectfully submits there is good cause to extend

the deadlines set forth in Dkt. 175 as follows:

       -    Plaintiff’s Rule 26(a)(2) disclosures: January 30, 2023

       -    Depositions of Plaintiff’s experts: March 30, 2023

       -    Defendants’ Rule 26(a)(2) disclosures: May 1, 2023

       -    Depositions of Defendants’ experts: June 26, 2023

       -    Defendants’ motion for summary judgment: July 31, 2023

       -    Plaintiff’s response to Defendants’ motion for summary judgment: August 28, 2023

       -    Defendants’ reply for their motion for summary judgment: September 11, 2023


        WHEREFORE, Plaintiff respectfully requests the court enter an order extending

deadlines in this matter, as set forth in Paragraph 7 of this motion.




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                                                            RESPECTFULLY SUBMITTED,


                                                            /s/ Danielle Hamilton
                                                            Counsel for Plaintiff


                                                            Jon Loevy
                                                            Anand Swaminathan
                                                            Steven Art
                                                            Danielle Hamilton
                                                            Isabella Aguilar
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                                CERTIFICATE OF SERVICE

       I, Danielle Hamilton, an attorney, certify that on December 19, 2022, I filed the foregoing
pleading using the Court’s CM/ECF system, which effected service on all counsel of record.


                                                    /s/ Danielle Hamilton
                                                    One of Plaintiff’s Attorneys




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